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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JEREMY HOCKENSTEIN,
                                Plaintiff(s),

                         v.                                           22-cv-4046 (DEH)

 CIGNA HEALTH AND LIFE INSURANCE                                            ORDER
 COMPANY,
                                Defendant(s).



DALE E. HO, United States District Judge:
       An order issued October 18, 2023, adjourned a previously-scheduled status conference to

November 1, 2023. That order required the parties to file a joint status letter, attaching a

proposed case management plan, by October 25, 2023. No such letter was filed.

       It is hereby ORDERED that the parties shall file the required materials as soon as

possible and no later than October 27, 2023.

       SO ORDERED.

Dated: October 26, 2023
       New York, New York


                                                                        DALE E. HO
                                                                 United States District Judge
